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15

16                               UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                      OAKLAND DIVISION
19    WHATSAPP LLC, and
      META PLATFORMS INC.,                         Case No. 4:19-cv-07123-PJH
20                                      )
                                        )
21                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
22           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
23                                      )
      NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
24                                                 Judge: Hon. Phyllis J. Hamilton
                                        )
25                    Defendants.       )
                                        )
26                                      )          Action Filed: October 29, 2019

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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Reply Memorandum of Points and Authorities in Support of Plaintiffs’

 5   Motion for Issuance of Letter Rogatory (the “Letter Rogatory Reply”) should be sealed.

 6           Plaintiffs’ Letter Rogatory Reply contains references to documents that NSO and nonparties

 7   Terrence DiVittorio and Josh Shaner have designated for confidentiality pursuant to the Stipulated

 8   Protective Order (Dkt. No. 132) in the above-captioned action and/or sought leave to file under seal.
 9   Accordingly, Plaintiffs now move the Court to consider whether such references in Plaintiffs’ Letter
10   Rogatory Reply should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs take no position as to
11   whether these materials satisfy the requirements for sealing, and specifically reserve the right to chal-
12   lenge any confidentiality designations as well as the sealability of the materials at issue.

13           This motion and copies of any relevant attachments will be served on counsel for Mr. DiVit-

14   torio and Mr. Shaner by email, since they have not appeared in this action as counsel for Mr. DiVit-

15   torio and Mr. Shaner.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
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 2    Dated: July 17, 2024                              Respectfully Submitted,

 3                                                      DAVIS POLK & WARDWELL LLP
 4
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                                                                 Attorneys for Plaintiffs WhatsApp LLC and
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     CASE NO. 4:19-CV-07123-PJH
